Case 1:23-cv-00079-ABJ   Document 368-1   Filed 09/23/24   Page 1 of 16




       EXHIBIT A
     Case 1:23-cv-00079-ABJ             Document 368-1   Filed 09/23/24   Page 2 of 16




Sean Larson, Wyo. Bar #7-5112
Kari Hartman, Wyo. Bar # 8-6507
HATHAWAY & KUNZ, LLP
P. O. Box 1208
Cheyenne, WY 82003-1208
307-634-7723
307-634-0985 (Fax)
slarson@hkwyolaw.com
khartman@hkwyolaw.com

Paula K. Colbath, Esq. (Admitted Pro Hac Vice)
Alex Inman, Esq. (Admitted Pro Hac Vice)
LOEB & LOEB LLP
345 Park Avenue
New York, NY 10154
212-407-4905
212-407-4990 (Fax)

ATTORNEYS FOR MINEONE WYOMING DATA CENTER, LLC
MINEONE PARTNERS LLC, TERRA CRYPTO, INC.

                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF WYOMING

                                             )
BCB CHEYENNE LLC d/b/a BISON                 )
BLOCKCHAIN, a Wyoming limited liability )
company,                                     )
                                             )
                        Plaintiff,           ) Civil Action No. 23CV-79-ABJ
                                             )
   v.                                        )
                                             )
MINEONE WYOMING DATA CENTER                  )
LLC, a Delaware limited liability company;   )
MINEONE PARTNERS LLC, a Delaware             )
limited liability company; TERRA CRYPTO )
INC., a Delaware corporation; BIT ORIGIN,    )
LTD, a Cayman Island Company;                )
SONICHASH LLC, a Delaware limited            )
liability company; BITMAIN                   )
TECHNOLOGIES HOLDING COMPANY,                )
a Cayman Island Company; BITMAIN             )
TECHNOLOGIES GEORGIA LIMITED, a              )
Georgia corporation; and JOHN DOES 1-20, )
related persons and companies who control or )
direct some or all of the named Defendants.  )
                                             )
                        Defendants.          )
     Case 1:23-cv-00079-ABJ      Document 368-1         Filed 09/23/24   Page 3 of 16




                   NOTICE OF INTENT TO SERVE SUBPOENA


       COME NOW Defendants MineOne Wyoming Data Center LLC, MineOne Partners LLC,

and Terra Crypto Inc. (the “MineOne Defendants”), by and through counsel, HATHAWAY &

KUNZ, LLP, and LOEB & LOEB LLP, and provide notice that the attached Subpoena to Testify

at a Deposition and Produce Documents will be served upon JWJ Technology LLC.

       TAKE FURTHER NOTICE THAT the MineOne Defendants are amenable to taking the

deposition called for by the attached subpoena remotely (via Zoom) upon agreement of the

witness and all parties.

       DATED this 12th day of September, 2024

                                          DEFENDANTS MINEONE WYOMING DATA
                                          CENTER, LLC, MINEONE PARTNERS LLC,
                                          AND TERRA CRYPTO, INC.
                                          By: /s/ Paula K. Colbath
                                          Paula K. Colbath, Esq. (Admitted Pro Hac Vice)
                                          Alex Inman, Esq. (Admitted Pro Hac Vice)
                                          345 Park Avenue
                                          New York, NY 10154
                                          Telephone: (212) 407-4905
                                          Fax: (212) 407-4990
                                          HATHAWAY & KUNTZ, LLP
                                          Sean Larson Wyo. Bar #7-5112
                                          Kari Hartman, Wyo. Bar #8-6507
                                          P. O. Box 1208
                                          Cheyenne, WY 82003
                                          Phone: (307) 634-7723
                                          Fax: (307) 634-0985
                                          slarson@hkwyolaw.com
                                          khartman@hkwyolaw.com




                             NOTICE OF INTENT TO SERVE SUBPOENA
                                             -2-
     Case 1:23-cv-00079-ABJ         Document 368-1         Filed 09/23/24      Page 4 of 16




                                CERTIFICATE OF SERVICE

       This is to certify that on the 12th day of September, 2024, a true and correct copy of the

foregoing was served upon counsel as follows:


 Patrick J. Murphy                                [ ] CM/ECF
 Scott C. Murray                                  [ ] Fax:
 Williams, Porter, Day & Neville, P.C.            [✓] E-mail:
 159 N. Wolcott., Suite 400                       pmurphy@wpdn.net smurray@wpdn.net
 P.O. Box 10700 (82602)
 Casper, WY 82601
 Attorneys for Plaintiff

 Meggan J. Hathaway                               [ ] CM/ECF
 Jane M. France                                   [ ] Fax:
 Sundahl, Powers, Kapp & Martin, L.L.C.           [✓] E-mail:
 500 W. 18th Street, Suite 200                    mhathaway@spkm.org; jfrance@spkm.org
 Cheyenne, WY 82003-0328

 Marc S. Gottlieb                                 [ ] CM/ECF
 Ortoli Rosenstadt, LLP                           [ ] Fax:
 366 Madison Avenue, 3rd Floor                    [✓] E-mail:
 New York, NY 10017                               msg@orllp.legal

 Attorneys for Bit Origin and SonicHash

                                                   /s/ Paula K. Colbath
                                                   LOEB & LOEB LLP




                                NOTICE OF INTENT TO SERVE SUBPOENA
                                                -3-
                 Case 1:23-cv-00079-ABJ                       Document 368-1              Filed 09/23/24         Page 5 of 16

AO 88A (Rev. /) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                             District
                                                       __________     of Wyoming
                                                                   District of __________

  BCB CHEYENNE LLC d/b/a BISON BLOCKCHAIN                                      )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      23-CV-79
   MINEONE WYOMING DATA CENTER LLC et al                                       )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                JWJ TECHNOLOGY LLC c/o CORP1, INC.
                                               614 N DUPONT HWY SUITE 210, DOVER, DE 19901
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u 7HVWLPRQ\<28$5(&200$1'('WRDSSHDUDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWRWHVWLI\DWD
GHSRVLWLRQWREHWDNHQLQWKLVFLYLODFWLRQ,I\RXDUHDQRUJDQL]DWLRQ\RXPXVWSURPSWO\FRQIHULQJRRGIDLWKZLWKWKH
SDUW\VHUYLQJWKLVVXESRHQDDERXWWKHIROORZLQJPDWWHUVRUWKRVHVHWIRUWKLQDQDWWDFKPHQWDQG\RXPXVWGHVLJQDWHRQH
RUPRUHRIILFHUVGLUHFWRUVRUPDQDJLQJDJHQWVRUGHVLJQDWHRWKHUSHUVRQVZKRFRQVHQWWRWHVWLI\RQ\RXUEHKDOIDERXW
WKHVHPDWWHUV
                  SEE ATTACHED SCHEDULE A
 Place:                                                                                Date and Time:
           Veritext Legal Solutions, 300 Delaware Ave.,                                                  09/17/2024 10:00 am
           Wilmington, DE 19801 (or via Zoom pending agmt.)

          The deposition will be recorded by this method:                     Stenographic means

       ✔
       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:
                       SEE ATTACHED SCHEDULE A




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        09/12/2024
                                   CLERK OF COURT
                                                                                         OR
                                                                                                            /s/ Paula K. Colbath
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party) MineOne Wyoming
Data Center, LLC, MineOne Partners LLC & Terra Crypto, Inc.             , who issues or requests this subpoena, are:
Paula K. Colbath, Loeb & Loeb LLP, 345 Park Avenue, New York, NY 10154; 212-407-4905

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                 Case 1:23-cv-00079-ABJ                       Document 368-1           Filed 09/23/24            Page 6 of 16

AO 88A (Rev. 2/) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 23-CV-79

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                      ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                       .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $         0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
                  Case 1:23-cv-00079-ABJ                        Document 368-1                  Filed 09/23/24                Page 7 of 16


AO 88A (Rev. 2/) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
     Case 1:23-cv-00079-ABJ         Document 368-1        Filed 09/23/24     Page 8 of 16




                                       SCHEDULE “A”

     DEFINITIONS AND INSTRUCTIONS FOR DEPOSITION TOPICS AND THE

                             PRODUCTION OF DOCUMENTS

       1.      The term “JWJ,” “You,” or “Your” shall mean JWJ Technology LLC, and each of

its officers, managers, managing members, members (whether individual or otherwise), directors,

employees, agents, and attorneys, including, without limitation, Huaili “Wiley” Zhang.

       2.      The term “Plaintiff,” or “BCB,” shall mean Plaintiff BCB Cheyenne LLC d/b/a

Bison Blockchain, and any of its present or former predecessors, successors, subsidiaries,

affiliates, partners, officers, managers, managing members, members (whether individual or

otherwise), directors, employees and agents, representatives and assigns.

       3.      The term “MineOne Wyoming” shall mean Defendant MineOne Wyoming Data

Center, LLC, and each of its officers, managers, managing members, members (whether individual

or otherwise), directors, employees and agents.

       4.      The term “MineOne Defendants” shall mean, individually and collectively,

MineOne Wyoming, Defendant MineOne Partners LLC, Defendant Terra Crypto Inc., and each of

their officers, managers, managing members, members (whether individual or otherwise),

directors, employees and agents.

       5.      The term “Action” shall mean the above-captioned civil action.

       6.      The term “Amended Complaint” shall mean the First Amended Complaint filed on

September 30, 2023 in this Action, which is attached to this Subpoena as Exhibit A.

       7.      The term “Answer and Counterclaims” shall mean the Answer and Counterclaims

filed on October 31, 2023 in this Action, which is attached to this Subpoena as Exhibit B.
     Case 1:23-cv-00079-ABJ           Document 368-1         Filed 09/23/24      Page 9 of 16




       8.      The term “DHS Agreement” shall mean the Development, Hosting & Services

Agreement, effective as of June 9, 2022, between MineOne Wyoming and BCB.

       9.      The term “Facilities” shall mean, individually and collectively, (i) the

cryptocurrency mining facility located in the North Range Business Park in Cheyenne, Wyoming;

(ii) the planned cryptocurrency mining facility located in the Campstool Addition in Cheyenne,

Wyoming; and (iii) and any other digital currency mining facility added by mutual agreement

between the Parties pursuant to the terms of the DHS Agreement.

       10.     “Communication” means all written, oral, telephonic, electronic, e-mail, text, or

other transmittal of words, thoughts, ideas, and images, including, but not limited to, inquiries,

discussions, conversations, negotiations, agreements, understandings, meetings, letters, notes,

telegrams, advertisements, press releases, publicity releases, trade releases, and interviews.

       11.     “Document” and “documents” include but are not limited to “documents,”

“electronically stored information” and “tangible things,” as those terms are used in Federal Rule

of Civil Procedure Rule 34(a), and “writings,” “recordings” and “photographs,” as those terms are

defined in Federal Rule of Evidence 1001, and include, without limitation, e-mails, text messages,

letters, notes (whether handwritten or otherwise), memoranda, post-its, buck slips, receipts,

contracts, letter agreements, journals, logs, drafts and other writings by which letters, words,

numbers or images, or their equivalent, are set down by handwriting, typewriting, printing,

photostating, photographing, magnetic impulse, mechanical or electronic recording, or other form

of data compilation, still photographs, video tapes, digital recordings and motion pictures,

publications, pamphlets, promotional materials, charts, graphs, ledgers, telegrams, minutes of

meetings, transcripts, financial statements, purchase orders, vouchers, invoices, bills of sale, bills

of lading, desk calendars, diaries, appointment books, and all means by which information can be




                                                  2
    Case 1:23-cv-00079-ABJ              Document 368-1      Filed 09/23/24      Page 10 of 16




stored by way of video or audio, tape, microfilm, microfiche, computers, hard disks, floppy disks,

compact disks, and other similar means. Any drafts or non-identical copies constitute separate

documents, including any English translations of foreign-language documents.

       12.     “Concerning” means in any way relating to, referring to, describing, comprising,

consisting of, evidencing or constituting.

       13.     The terms “person” and “persons” refer to natural persons or any business, legal,

or governmental entities or associations, including without limitation, corporations, partnerships,

limited partnerships, limited liability companies, joint ventures, or franchises.

       14.     A reference to an entity (as opposed to a natural person) refers to the entity and to

all persons employed by or affiliated with it, including but not limited to its owners, members,

managers, partners, directors, officers, agents, representatives, and employees.

       15.     The terms “and” and “or” shall be construed either disjunctively or conjunctively

so as to bring within the scope of these discovery requests any information that might otherwise

be construed to be outside its scope.

       16.     The terms “each,” “any” and “all” shall be construed interchangeably so as to bring

within the scope of these discovery requests all responses that might otherwise be construed to be

outside their scope.

       17.     In responding to the following requests for documents, You are required to furnish

all documents in Your possession, custody or control, regardless of whether such documents are

in Your possession, or the possession of Your directors, officers, members, partners, designees,

agents, managers, employees, representatives, attorneys, or any other person or entities acting on

Your behalf or subject to Your control.




                                                  3
    Case 1:23-cv-00079-ABJ            Document 368-1         Filed 09/23/24      Page 11 of 16




       18.     Where any copy of any requested document is not identical to any other copy

thereof, by reason of any alterations, marginal notes, comments, or material contained therein or

attached thereto, or otherwise, all such non-identical copies shall be produced separately.

       19.     All documents that respond, in whole or in part, to any portion of any of these

requests shall be produced in their entirety, without abbreviation or redaction, including all

attachments and enclosures.

       20.     Subject to Paragraph 21 of these Instructions, You are instructed to produce

documents either as they are kept in the usual course of business, or to produce documents

organized and labeled to correspond with each of these requests. In producing documents, all

documents that are physically or electronically attached (e.g., email attachments) to each other

when located for production shall be left so attached. Documents that are segregated or separated

from other documents, whether by inclusion in binders, files, subfiles, or by use of dividers, tabs

or any other method, shall be left so segregated or separated.

       21.     All electronically stored information responsive to a request shall be produced in

black and white, single-page TIFF or color JPEG format, as applicable, and in native format. All

corresponding metadata shall be produced in a load file compatible with Relativity; provided,

however, that where such conversion would alter the information or render it impracticable to

review, electronically stored information shall be produced in native format.

       22.     If any document or any portion of any document requested herein is withheld from

production, describe the basis for withholding the document or portion thereof, including any claim

of privilege or protection, in sufficient detail to permit the Court to adjudicate the validity of Your

withholding the document, and identify each document or portion thereof so withheld by providing

at least the following information:




                                                  4
    Case 1:23-cv-00079-ABJ           Document 368-1         Filed 09/23/24       Page 12 of 16




               a)      the type of document (e.g., memorandum, letter, report, etc.);

               b)      the date, title, and subject matter of the document;

               c)      the identity, affiliation, and position of the author, the addressee(s), and all
       recipients of the document; and

              d)      a statement of (i) the nature of the legal privilege or protection from
       discovery claimed and (ii) the factual basis for that claim of privilege or protection from
       discovery, including the facts establishing the claim of privilege or protection from
       discovery, the facts showing that the privilege has not been waived, and a statement as to
       whether the subject matter of the contents of the document is limited to legal advice or
       contains other subject matter.

       23.     If a portion of an otherwise responsive document contains information subject to a

claim of privilege or protection from discovery, those portions of the document shall be redacted

from the document, and the redacted portions shall be clearly marked with the word

“REDACTED,” and the rest of the document shall be produced.

       24.     If a portion of an otherwise responsive document contains information that You

contend is not relevant but that is not subject to a claim of privilege, the entire document shall be

produced.

       25.     If no documents exist that are responsive to a particular request, You shall state so

in writing. If any document requested is not in Your possession, custody or control, state the name

and address of each person known to have possession, custody or control of such document.

       26.     If You object to any of these requests, or any portion thereof, state each such

objection with particularity and the bases therefore, and respond to the remainder of the request to

the extent that You are not objecting to it.

       27.     With respect to any responsive document that was formerly in Your possession,

custody or control and has been lost, destroyed or transferred out of Your possession, custody or

control, identify such document by setting forth its author(s), addressee(s), copyee(s), date, title,

number of pages, subject matter, nature (e.g., memorandum, letter, report, etc.), actual or


                                                  5
    Case 1:23-cv-00079-ABJ            Document 368-1        Filed 09/23/24     Page 13 of 16




approximate date on which the document was lost, destroyed or transferred, and, if destroyed, the

conditions of and reasons for such destruction, and the names of the person authorizing and

performing the destruction.

       28.        These document requests are continuing. If, at any time after service of Your

responses hereto, You obtain or become aware of additional information or documents that are

responsive to these document requests, You shall promptly serve upon the undersigned

supplemental document productions.

       29.        The MineOne Defendants reserve the right to serve additional requests for the

production of documents.

       30.        If You have in Your possession, custody or control any English language

translations of any non-English language documents that are responsive to any of these requests,

You shall produce the English translations of said documents.

       31.        Unless otherwise specified, these requests concern the period from January 1, 2021

to the present.

             TESTIMONY IS SOUGHT AS TO THE FOLLOWING MATTERS

       1.         The facts and circumstances Concerning the negotiation and performance of

contracts between JWJ and any of the MineOne Defendants, including, without limitation, the

written December 20, 2022 agreement between JWJ and MineOne Wyoming.

       2.         The facts and circumstances Concerning all financial transactions between JWJ and

any of the MineOne Defendants.

       3.         The DHS Agreement.

       4.         JWJ’s Communications Concerning BCB including, without limitation,

Communications Concerning BCB’s performance as project manager of the Facilities,




                                                  6
    Case 1:23-cv-00079-ABJ            Document 368-1         Filed 09/23/24      Page 14 of 16




construction quality, timelines, delays, cost overruns, or any other topic relating to the energization

and construction of the Facilities, and the hosting of Bitmain’s Hosting Units.

       5.      JWJ’s Communications with any of the MineOne Defendants Concerning the

progress of construction of the Facilities, and cost overruns relating to same, and operation and

maintenance of the Facilities.

       6.      The facts and circumstances Concerning JWJ’s work on the Facilities.

       7.      The facts and circumstances Concerning the allegations in the Amended Complaint

(Exhibit A hereto) and the MineOne Defendants’ Answer and Counterclaims (Exhibit B hereto).

       8.      The legal ownership and management of JWJ.

       9.      JWJ’s search for and collection of documents and information in response to this

subpoena.

       10.     All documents produced by JWJ in response to this subpoena.

                                 REQUESTS FOR PRODUCTION

       1.      All Documents Concerning Your involvement in the Facilities.

       2.      All agreements (including any drafts) between JWJ, on the one hand, and any of

the MineOne Defendants, on the other hand, and all Communications Concerning such

agreements.

       3.      All Communications between You, on the one hand, and BCB or any of BCB’s

agents, Michael Murphy, Sean Murphy, Emory Patterson, Neil Phippen, Steven Randall, Patrick

Murphy, Esq., and Williams, Porter, Day and Neville, P.C., on the other hand, from January 1,

2020 to the present.

       4.      All Documents Concerning the operations and business activities of BCB and/or

any Defendant.




                                                  7
    Case 1:23-cv-00079-ABJ           Document 368-1          Filed 09/23/24   Page 15 of 16




       5.      All Communications between You, on the one hand, and any other Person, on the

other hand, Concerning BCB and/or the Facilities.

       6.      All of Your internal Communications concerning the Facilities, including without

limitation, all Communications Concerning the construction quality, timelines, delays, or any other

topic relating to the energization and construction of the Facilities.

       7.      Documents sufficient to show the legal ownership and management of JWJ at all

times from January 1, 2022 to the present.

       8.      All Documents and Communications Concerning and/or mentioning this Action,

the First Amended Complaint, or the Answer and Counterclaims.




                                                  8
Case 1:23-cv-00079-ABJ   Document 368-1   Filed 09/23/24   Page 16 of 16




     EXHIBIT A                                                    *




     EXHIBIT B                                                   *




*Exhibits to the Subpoena have been omitted
